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                                   5                                    UNITED STATES DISTRICT COURT

                                   6                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   8       SARAH ANDERSEN, et al.,                            Case No. 23-cv-00201-WHO
                                                         Plaintiffs,
                                   9
                                                                                              ORDER DENYING MOTION FOR
                                                  v.                                          CLARIFICATION OR
                                  10
                                                                                              RECONSIDERATION
                                  11       STABILITY AI LTD., et al.,
                                                                                              Re: Dkt. No. 225, 227
                                                         Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14           Defendant Midjourney, Inc. filed an administrative motion for clarification or in the

                                  15   alternative seeking leave to file a limited motion for reconsideration of my denial of its motion to

                                  16   dismiss plaintiffs’ trade dress claim. See Dkt. Nos. 223, 225. Midjourney objects to my

                                  17   conclusion that plaintiffs had adequately identified the elements of their protected trade dress

                                  18   sufficient to survive the motion to dismiss.

                                  19           That is not an appropriate ground to seek “clarification.” It is, as plaintiffs point out, a

                                  20   request to reconsider my ruling. Under this Court’s Civil Local Rules, a motion for leave to file a

                                  21   motion for reconsideration is not an administrative motion, and Midjourney instead should have

                                  22   complied with Civil Local Rule 7-9.1 Midjourney’s motion does not satisfy the requirements of

                                  23   that rule. Midjourney does not identify a dispositive legal argument that was ignored, it simply

                                  24   dislikes my conclusion. To the extent Midjourney believes it does not have sufficient notice of the

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                                         Under Civil Local Rule 7-9, Midjourney was required to identify a “manifest failure by the Court
                                  27   to consider . . . dispositive legal arguments” and could not repeat arguments made in the
                                       underlying motion. See Civ. L. R. 7-9(b) & (c). The rule also does contemplate the filing of a
                                  28   reply, as Midjourney did here. See Civ. L. R. 7-9(d) & Dkt. Nos. 227 & 228 (Plaintiffs’ Motion to
                                       Strike improper reply).
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                                   1   “concrete elements” comprising each plaintiff’s trade dress, that can be readily secured through

                                   2   interrogatories or other targeted discovery. Midjourney will then be in a position to test the claim

                                   3   at summary judgment.

                                   4          Midjourney’s request for clarification or reconsideration is DENIED. Plaintiffs’ motion to

                                   5   strike Midjourney’s reply is DENIED as moot.

                                   6          IT IS SO ORDERED.

                                   7   Dated: September 30, 2024

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                                                                                                    William H. Orrick
                                  10                                                                United States District Judge
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                                  12
Northern District of California
 United States District Court




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